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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

LESTER DOBBEY, JOSEPH DOLE,                )
RAUL DORADO, EUGENE ROSS,                  )
and BERNARD McKINLEY,                      )
                                           )
                           Plaintiffs,     )
                                           )
              v.                           )      Case No. 19-cv-3272
                                           )
ROB JEFFREYS, GLADYSE TAYLOR,              )      Judge Robert W. Gettleman
DARWIN WILLIAMS, WALTER                    )
NICHOLSON, and MARCUS HARDY                )      Magistrate Judge Sunil R. Harjani
                                           )
                           Defendants.     )

             PLAINTIFFS’ MOTION FOR VOLUNTARY DISMISSAL
                 PURSUANT TO FEDERAL RULE OF CIVIL
                PROCEDURE 41(A)(2) WITHOUT PREJUDICE

       Plaintiffs Lester Dobbey, Joseph Dole, Raul Dorado, Bernard McKinley, and

(“Plaintiffs”), by and through their attorneys, Brad J. Thomson and Michael E.

Deutsch, and Eugene Ross, by and through his attorney, Joshua G. Herman (together

with aforementioned parties, “Plaintiffs”) hereby move to voluntary dismiss the

above-referenced action pursuant to Federal Rule of Civil Procedure 41(a)(2) without

prejudice.

       In support of this Motion, Plaintiffs show to the Court the following:

       1.   On May 15, 2019, Plaintiffs, inmates in the Illinois Department of

Corrections, filed a four-count complaint seeking remedies for alleged violations of

their civil rights related to a debate program at Stateville Correctional Center. (Dkt.

#1).



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      2.   On October 8, 2019, the Court denied the Defendants’ motion to dismiss the

action, with the exception of a failure to intervene claim against an individual

defendant. (Dkt. #39).

      3.   Since that time, the parties have engaged in settlement discussions, which

have been prolonged due to the COVID-19 pandemic. The matter has reached a

juncture where, after consultation with their respective clients, Plaintiffs’ counsel

believe it is in their clients’ respective and collective interests to voluntarily dismiss

the action without prejudice and with leave to reinstate.

      4.   Pursuant to Federal Rule of Civil Procedure 41(a)(2), “an action may be

dismissed at the plaintiff’s request only by court order, or on terms that the court

considers proper.” Fed. R. Civ. P. 41(a)(2). It is within the Court’s discretion to permit

voluntary dismissal. Tolle v. Carroll Touch, Inc., 23 F.3d 174, 177 (7th Cir. 1994)

(“Permitting a plaintiff to voluntarily dismiss an action without prejudice, under Rule

41(a)(2) of the Federal Rules of Civil Procedure, is within the sound discretion of the

district court.”). To show that voluntary dismissal is improper, “a defendant must

demonstrate plain legal prejudice.” Quad/Graphics, Inc. v. Fass, 724 F.2d 1230, 1233

(7th Cir. 1983).

      5.   No legal prejudice will inure to defendants if the Court issues an order

granting plaintiffs’ request for voluntary dismissal without prejudice.           Indeed,

counsel for plaintiffs have conferred with counsel for defendants, who has indicated

that defendants would not object to a future motion to reinstate this matter before

this Court so long as that motion is filed within a reasonable time.



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      WHEREFORE, Plaintiffs Lester Dobbey, Joseph Dole, Raul Dorado, Bernard

McKinley, and Eugene Ross, respectfully move for this Court’s order permitting

voluntary dismissal pursuant to Fed. R. Civ. P. 41(a)(2), and further order that the

dismissal be without prejudice and with leave to reinstate.



                                             Respectfully submitted,

                                             /s/ Brad J. Thomson
                                             Brad J. Thomson
                                             Michael E. Deutsch
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                          CERTIFICATE OF SERVICE

      The undersigned certifies that on February 17, 2023, the above and foregoing

document was electronically submitted using the Court’s CM/ECF system, and

thereby served on all attorneys of record.

                                                 /s/ Joshua G. Herman




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